Case 1:18-cv-03068-CCB Document 4 Filed 10/12/18 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
Northern Division

 

JOHN C. POFFENBARGER, in his *
capacity as Trustee of the ARTHUR L.
POFFENBARGER IRREVOCALE *
TRUST DATED 7/9/98, AS AMENDED
AND RESTATED, et al. *
Plaintiffs * CIVIL ACTION NO.: l:18-cv~3068
v. *
NORTHWESTERN MUTUAL *
Defendant *
>I¢ ’I< * * * >I¢ * * * $ * * =I¢

DISCLOSURE OF CORPORATE INTEREST

Check all that apply:
E§l I certify, as party/ counsel in this case that The Northwestern Mutual Life Insurance
Companv .

(name of party)
is not an affiliate or parent of any publicly traded corporation, and no corporation,
unincorporated association, partnership or other business entity, not a party to the case, has a

financial interest in the outcome of this litigation as defined in Local Rule 103.3 (D. Md.)

E The following corporate affiliations exist With The Northwestern l\/lutual Life Insurance
Compan§;: (uame of party)

 

(names of affiliates)
|:l The following corporations, unincorporated associations, partnerships or other business

entities Which are not parties may have a financial interest in the outcome of this litigation:

 

(narnes of entities With possible financial interests)

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_ ‘®176\5”) Q~@-IS

 

Date

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Signature
David A. Carter 04898
Prim‘ed Name Bar Number

10 E. Baltimore Street, Suite 1405
Aa'dress

Baltimore, Marvland 21202
Cizj)/Stare/Zzp

410-244-5800 ~4]0 244-5810
Phone No. ' Fax No.

 

U.S. District Court (6/13/2003) Disclosure of Corporate interest

